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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
        v.                                           :        CRIMINAL NO. 21-CR-244(CKK)
                                                     :
                                                     :
ANTHONY GRIFFITH.                                    :


     DEFENDANT’S REPLY TO GOVERNMENT’S RESPONSE TO DEFENDANT’S
           MOTION TO DISMISS COUNTS UNDER FED R CRIM P 29

         The Defendant, by and through his attorneys Nicole Cubbage and Kira Anne West,

replies to the government’s response to defendant’s motion to dismiss counts 2 and 3 under

Federal Rule of Criminal Procedure 29.

        An indictment must be dismissed if it fails to ensure that [the defendant] was prosecuted

only on the basis of facts presented to the grand jury. United States v. DuBo, 186 F.3d 1177,

1180 (9th Cir. 1999), citing United States v. Carll, 105 U.S. 611, 613 (1881). The government

incorrectly states that the defense moved for dismissal of these counts pursuant to Federal Rule

of Criminal Procedure 12. See Gov’t response, ECF 136 @1-2, fn1. This is not so.1The motion

for judgement of acquittal was made after the government rested pursuant to Federal Rule of

Criminal Procedure 29. This Court took the motion under advisement immediately after the

motion was made and did not rule on the motion but told the parties it would be discussed later.

The defendant renewed his motion for judgment of acquittal on counts 2 and 3 of the indictment

before the defense rested and before closing arguments. Again, the Court mentioned the need for



1 This argument is made without the benefit of the transcript of the trial, but undersigned counsel is sure that she
made the motion pursuant not to Rule 12 but to Federal Rule of Criminal Procedure rule 29, motion for judgment of
acquittal. It was the Court that brought up rule 12.
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the government to read the motion which was slightly different that what the defense previously

submitted to chambers via email on March 15, 2023, in response to the government’s email to

chambers. See Exhibit 1, defense email to chambers and the United States, incorporated herein.

The defense moved for judgement of acquittal both as a legal matter and an evidentiary matter

which was clearly spelled out in the defendant’s email. There has been no “typographical error”

on the part of the defendant as the government suggests.2

        The government argues that the phrase in question, “…and Vice President-elect were

then temporarily visiting…” see ECF No. 12, is “a useless averment.” Gov’t response at 7. But

that’s not the issue. The issue here is that the grand jury heard this very important fact and voted

to indict Mr. Griffith based upon the fact that the Vice President-elect was visiting the Capitol at

a certain time which presumably turns out not to be the case.3 This is not the case of the

government “alleg[ing] a broader scheme yet prov[ing]a narrow one….” Gov’t response at 10

(citations omitted). The government also relies on other decisions by other judges in this District,

but none of those cases were a bench trial and a Rule 29 motion by the defense. The posture here

is different. The Vice President and the Vice President-elect are not mutually exclusive beings,

especially in the charged political atmosphere the grand jury found itself in when presented with

facts for this indictment. This is not unlike what Judge Bates mentioned in United States v.

Quinn, 401 F. Supp. 2d (DDC 2005). In Quinn, Judge Bates held that Miller and Bain hold that

a person cannot be convicted of “an offense that is different from that alleged in the grand jury

indictment.” Quinn, 401 F. Supp. 2d 89, citing Miller, 471 U.S. at 142. Judge Bates mentions




2 The defense is also unsure what the government intends to relay by the notation of “[sic].” The defense has
complete confidence in this Court’s ability to understand the arguments of both sides.
3 The defense says “presumably” based on the fact that no evidence was presented by the government in the case
about the Vice President-elect at all.
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that the potential for prejudice (the jury seeing the indictment) as substantial “because of the

seriousness with which the government and the public treat the present war on terrorism.” Quinn

at 97-98.

       Likewise, this is not a mere “excess allegation” as the government argues. Gov’t response

at 13. “Ignoring or striking” the language does not narrow the scope of the charges but rather

broadens and varies the scope of the indictment. As this Court stated in United States v. Barrow,

2021 US Dist. Lexis 30925 (CKK), “the facts have yet to be proved.” The indictment needs to

inform the defendant of “the precise offense of which is accused so he may prepare his defense

and plead double jeopardy in any further prosecution for the same offense.” Id. at 6, citing

United States v. Verrusio, 762 F. 3d 1, 13 (D.C. Cir. 2014). Unlike the defendant in Barrow,

defendant Griffith is not speculating about an alleged deficiency in the grand jury. Rather,

Griffith knows that the grand jury indicted him based on a fact not proven at trial. Here, there is

nothing “conclusory or speculative” on the part of defendant’s allegations-the offending

language is on the face of the indictment returned by the grand jury. See id. at 20.

       There are unanswered questions before this Court. Was it an error in the grand jury

proceeding? See Fed.R. Crim. P 12(b)(3)(A)(v). Can it be that the addition of this language

“substantially influenced the grand jury’s decision to indict?” See Barrow at 4, citing Bank of

Nova Scotia v. United States, 487 U.S. 250, 256 (1988). This Court did not dismiss counts in

Barrow because the defense could only show “mere suspicion” about the goings on of the grand

jury. Here, the indictment was presented to the grand jury and returned by the grand jury and the

government’s proof at trial was different than what was charged. Second, the United States

Attorney’s Office superseded each and every other indictment in order to excise this false

language, and third, the government did not prove this fact at trial even though they could have

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elicited the fact that she was there that day.

        Finally, the stipulations entered into by the parties has nothing to do with the fact that the

government failed to prove or offer any evidence that the Vice President-elect was there or not.

They could have put on evidence about her but chose not to. The stipulation says nothing about

Ms. Harris so did they know then (when they signed the stipulation) that they couldn’t prove that

she was there that day or should have included her in their proposed stipulations? What we

know is that they did not. The government never asked the defense to stipulate to this and the

government imputing notice of what the government would prove through stipulations (or at

trial) is disingenuous. Defense counsel may have an idea what the government’s proof will be at

trial, but it’s not possible to know everything the government will present-that’s why we have

trials, to flush out the facts.4 And for the government to state that the defense “sandbagged”

them or the Court is again disingenuous. Every other J6 indictment that included the “Vice

President-elect” language was superseded to delete this false statement in every other indictment.

The defense had no idea until trial what the government intended to put in evidence. The

problem is that this Court cannot be assured that the defendant has not been prejudiced by the

variance of proof here. If one grand juror voted for indictment because the government presented

as fact that the Vice-President-elect was there visiting at the time Mr. Griffith was also there,

then he is prejudiced by this and the counts should be dismissed.




4 The government’s concentration on Federal Rule of Criminal Procedure 12 is misplaced and a red herring. This
motion was made pursuant to Federal Rule of Criminal Procedure 29, and the government knows that.
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                                                      Respectfully submitted,



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                                  CERTIFICATE OF SERVICE

         I hereby certify on the 3rd day of April, 2023, a copy of same was delivered to the parties

of record, by ECF and email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                          /S/
                                                      Kira Anne West




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